Case 8:16-cv-03145-MSS-J_S            Document 199         Filed 09/26/19       Page 1 of 20 PageID
                                            4222




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DANIEL MARTINS, individually and on
behalf of others similarly situated,

       Plaintiff,

vs.                                                    CASE NO.: 8:16-cv-03145-MSS-JSS

FLOWERS FOODS, INC., FLOWERS
BAKING CO. OF BRADENTON, LLC,
and FLOWERS BAKING CO. OF VILLA
RICA, LLC,

      Defendants.
___________________________________

                    MOTION FOR COURT-SUPERVISED DISCOVERY

       Defendants, Flowers Foods, Inc., Flowers Baking Co. of Bradenton, LLC, and Flowers

Baking Co. of Villa Rica, LLC (“Defendants”) respectfully move this Court to more closely

supervise the remaining discovery in this case, including: (1) ordering counsel for the Opt-In

Plaintiffs to transmit to the Opt-In Plaintiffs the proposed Notice attached hereto as Exhibit A;

(2) ordering the Opt-In Plaintiffs to produce all outstanding written discovery responses,

responsive documents, and any verifications by October 15, 2019; (3) ordering that going forward,

absent an unforeseen emergency, Plaintiffs will be responsible for the costs incurred by Defendants

associated with the cancellation of any distributor deposition with less than two business days’

notice to Defendants; (4) ordering that going forward, Plaintiffs will be responsible for any

additional costs incurred by Defendants associated with continuing an already commenced

deposition at a later date if a distributor testifies in his/her deposition that he/she has not produced

at least three business days prior to his or her deposition all responsive documents in his/her
Case 8:16-cv-03145-MSS-J_S            Document 199         Filed 09/26/19      Page 2 of 20 PageID
                                            4223




possession, or if it otherwise becomes apparent either during or after a distributor’s deposition

that there are responsive documents that were not produced at least three business days prior to a

distributor’s deposition; and (5) requiring the Parties to submit to the Court a written monthly

report on the status of discovery and a statement as to whether a phone conference with the Court

is needed to discuss any outstanding and/or ongoing discovery issues.

       The reason Defendants file this motion is straightforward: the Opt-In Plaintiffs have not

been participating in good faith in the discovery process—if they have participated at all— and

seem to be unaware of their discovery-related obligations in this case. This is prejudicing

Defendants’ ability to establish its defenses to the claims in this matter within the current discovery

deadline (which has already been extended once given the difficulties faced in scheduling

depositions). For example, and as discussed more fully below, Opt-In Plaintiffs as a whole have

not produced their discovery responses, including responsive documents – if they produce them at

all – in a timely manner.

       Several Opt-In Plaintiffs have either cancelled their depositions with no explanation with

less than 48 hours prior to deposition, or have simply no-showed at their depositions without any

prior notice after Defense counsel had incurred the time and expense of travelling to the deposition

site and booking the Court reporter. Several Opt-In Plaintiffs have testified in their depositions

that they never received litigation hold notices from their attorneys and were unaware of their

obligations not to destroy potentially relevant documents. Opt-In Plaintiffs have testified in their

depositions that they have not provided their attorneys with all of the documents in their possession

responsive to Defendants’ Requests for Production, and seemed to be confused as to what types

of documents in their possession they should be providing to their attorneys. When questioned in



                                                 -2-
Case 8:16-cv-03145-MSS-J_S                  Document 199            Filed 09/26/19         Page 3 of 20 PageID
                                                  4224




their depositions about specific interrogatory responses, several Opt-In Plaintiffs have testified that

the information contained in interrogatory responses was not accurate and/or that they never were

either given a copy of or reviewed their interrogatory responses or asked the questions contained

in the interrogatories themselves prior to their responses being served on Defendants.

         In short, it does not appear that the distributors are taking their obligations in this case as

Opt-In Plaintiffs seriously, and their lack of attention to their discovery-related obligations is

prejudicial to Defendants’ ability to properly pursue its defenses. Indeed, this conduct on the part

of the Opt-In Plaintiffs has made it virtually impossible for Defendants to conduct discovery in a

timely, efficient, and cost-effective manner. This cannot continue, and it appears that the Opt-In

Plaintiffs need to be reminding of their discovery obligations in this case through a formal notice

approved by the Court. Though Defendants have communicated these deficiencies in writing to

counsel for Plaintiffs, and orally both on the phone and during depositions, these deficiencies

remain ongoing and unresolved.1 For these reasons, as discussed more fully below, Defendants

respectfully request that the Court more closely supervise discovery in this case and grant the relief

requested herein, in addition to any other relief that the Court deems appropriate.

I.       Relevant Procedural Posture

         Plaintiff Daniel Martins filed his Complaint and Demand for Jury Trial on November 9,

2016. (Dkt. 1). Mr. Martins and the approximately 300 individual Plaintiffs who have chosen to

opt in to this case are current and former independent distributors who contracted with one of five

subsidiaries of Defendant Flowers Food, Inc. (“Flowers Foods”). (Id.). They allege they were


1
  Aside from the overall supervision sought in this motion in an effort to minimize discovery disputes, Defendants
reserve the right to follow up separately as to particular deficiencies in discovery responses received from individual
opt-in plaintiffs and thereafter file motions to compel as necessary.


                                                         -3-
Case 8:16-cv-03145-MSS-J_S           Document 199         Filed 09/26/19      Page 4 of 20 PageID
                                           4225




misclassified as independent contractors and are entitled to overtime compensation under the Fair

Labor Standards Act. (Id.). Defendants filed their Answer and Affirmative and Other Defenses

to Complaint and Demand for Jury Trial on December 22, 2016. (Dkt. 20). Pursuant to

Fed.R.Civ.P. 26(f) and Local Rule 3.05(c), the Parties filed their Case Management Report on

March 6, 2017. (Dkt. 47). On March 28, 2018, the Court granted Plaintiffs’ Motion for Conditional

Certification (Dkt. 135), and approved notice to potential opt-ins on October 22, 2018. (Dkt. 150).

       On or about February 19, 2019, after closure of the opt-in period, the Parties filed a Joint

Amended Case Management Report (Dkt. 161). Pursuant to the Court’s April 9, 2019 Case

Management and Scheduling Order (Dkt. 162), the discovery deadline was initially set to close on

August 1, 2019. Additionally, the parties agreed that Defendants could depose the named Plaintiffs

and 20% of the Opt-In Plaintiffs, and would be allowed up to seven hours on the record for each

named Plaintiff and up to three hours on the record for each opt-in deposition. (Id.).

       On May 23, 2019, Defendants propounded their first set of discovery requests on all of the

Plaintiffs, including the Opt-In Plaintiffs. (September 26, 2019 Declaration of C. Garner Sanford,

Jr. (“Sanford Dec.”), ¶3) (Exhibit B). Plaintiffs’ initial deadline to respond to Defendants’

discovery requests was at the latest June 25, 2019. Recognizing that it would be time consuming

for Plaintiffs’ counsel to coordinate the preparation and service of 300 sets of discovery responses,

Defendants agreed that Plaintiffs could respond to the discovery requests on a rolling basis,

prioritizing those Opt-In Plaintiffs set to appear for depositions. (Sanford Dec., ¶4). Defendants

proposed that Plaintiffs could produce a particular Opt-In Plaintiff’s written discovery responses

and responsive documents (which Defendants agreed could be limited to the tax returns,

documents related to third-party sales, and interrogatory responses pre deposition) at least seven



                                                -4-
Case 8:16-cv-03145-MSS-J_S          Document 199        Filed 09/26/19     Page 5 of 20 PageID
                                          4226




days prior that distributor’s deposition. (Sanford Dec., ¶5). In exchange, Defendants agreed to

produce the distributor files for the distributors being deposed seven days in advance of the

deposition, even if the response time had not yet passed. (Sanford Dec., ¶6).

       Beginning in early June, 2019, Defendants began the process of working with Plaintiffs’

counsel to schedule depositions for Defendants’ selected Opt-In Plaintiffs, including identifying

45 of the 60 Opt-In Plaintiffs Defendants planned to depose. (Sanford Dec., ¶7). Since that time,

Defendants have been working diligently to schedule distributor depositions and have been met

with non-responsiveness, slow responses, or messages that opposing counsel was not available for

several weeks during the discovery period for any depositions. Additionally, on July 29, 2019, the

Parties jointly moved to extend the discovery period 90 days, up to and including November 1,

2019. (Dkt. 185). The Court granted the Parties’ joint motion, and on July 31, 2019, issued an

Order extending the close of discovery to November 1, 2019. (Dkt. 186).

II.    Plaintiffs Have Continually Failed To Meet Their Discovery Obligations

       A.      Defendants have not received written discovery responses from more than 280
               of the 299 Opt-In Plaintiffs despite the fact those responses were originally due
               at the latest June 25, 2019.

       First and foremost, Defendants are not receiving written discovery responses from the Opt-

In Plaintiffs in a timely manner and Opt-In Plaintiffs are not complying with their obligations

under the Federal Rules of Civil Procedure and local practice as described in the Middle District

of Florida Civil Discovery Handbook. As is discussed in the Handbook: “The Federal Rules of

Civil Procedure set forth explicit time limits for responding to discovery requests. If unable to

answer timely, an attorney should first seek an informal extension of time from counsel

propounding the discovery. Counsel in this district typically accommodate reasonable requests for



                                               -5-
Case 8:16-cv-03145-MSS-J_S           Document 199        Filed 09/26/19      Page 6 of 20 PageID
                                           4227




additional time. If unable to informally resolve the matter, counsel should move for an extension

of time to respond.” M.D. Fla. Civil Discovery Handbook ¶ I.E.1. As is also discussed in the

Handbook, Opt-In Plaintiffs’ counsel are obligated to “promptly” contact their clients upon

receiving requests for production and develop a plan to respond to the requests in a “timely and

reasonable manner.” Id. ¶ III.A.4. Opt-In Plaintiffs have missed deadlines by months, failed to

request extensions to particular dates, and failed to respond to Defendants’ inquiries regarding the

same.

        Defendants served interrogatories and requests for production of documents on all Opt-In

Plaintiffs on May 23, 2019. (Sanford Dec., ¶3). Responses to those written discovery requests

were due 30 days thereafter, at the latest June 25, 2019. On June 24, 2019, Kendrick Nobles, a

paralegal for counsel for Plaintiffs, requested an unspecified extension of time in which to submit

the Opt-In Plaintiffs’ discovery responses. (Sanford Dec., ¶9). In response, Defendants requested

how much additional time Opt-in Plaintiffs needed and never received a response. Defendants did

agree that counsel for Plaintiffs could produce the written responses and responsive documents on

a rolling basis, with a priority on discovery responses for the Opt-In Plaintiffs whose depositions

had been scheduled. (Sanford Dec., ¶10). However, Defendants never agreed to a blanket

extension to a date certain for the simple reason that Plaintiffs’ counsel has never been able to

provide a proposed deadline for when all the discovery responses and documents will be served.

(Sanford Dec., ¶11). Indeed, as of this filing, Defendants have not received discovery responses

from over 277 of the Opt-in Plaintiffs, including all of the following Opt-In Plaintiffs, and have

not received any indication from Plaintiffs’ counsel as to when such discovery responses would

be forthcoming:



                                                -6-
Case 8:16-cv-03145-MSS-J_S      Document 199      Filed 09/26/19   Page 7 of 20 PageID
                                      4228




Abrams, John Fitzgerald        Christy, Robert Franklin       Franklin, Cameron D.
Alexander, Kamian              Clark, Michael Larry           Freeman, Andre
Arce, Peter Nelson             Conti, Joseph                  Garcia, Eddie
Armour, Jr., Fred Lee          Corbin, David Michael          Garza, Jaime
Austin, Jr., Ronald            Cordes, William J.             Gause, William Shawn
Austin, Kevin                  Corley, Jeffery Carol          Geren, David Leonard
Aviles, Jaime Enrique          Cox, Tanya Nevels              Gifford, Benjamin David
Bacigalupi, William Paul       Crider, Ronald                 Gonzalez, Anthony Donald
Bacon, Malone                  Cruz, George Coelho            Gooboltd, Ramone M.
Bailey, Gregory Scott          Cumming, Phillip Xzavier       Gooch, Greg G.
Bailey, III, Arthur L.         Cunningham, Brian Scott        Gourd, Steven
Baker, Johnny B.               Danel, Jean Alphonse           Greene, Jarrod Michael
Baker, Thomas Dean             Daniels, Terry Ray             Greer, Matthew
Baptiste, Jason John           Davis, Billy Joe               Griffin, David Scott
Barajas, Daniel                de La Paz, Christopher         Grimes, Jeremy Edward
Barajas, Oscar J.              DeFriece, James Cody           Hadley, Terrance Leon
Barge, Curtis Baxter           Delgado, Leonardo              Hamilton, Anthony E.
Barnett, William               Dembo, Steven Daniel           Hammers, Joseph Steven
Barnette, Randy                DeSimone, Peter                Hance, Chris
Barrett, Jr., William Elijah   Dethlefs, Michael S.           Hannum, Brett
Barrios, Luis                  Dinsmore, Michael D.           Harper, Walter Clay
Barrios, Roberto               Dominguez, Jailer              Harris, Damarte R.
Bass, Sr., Ernest Toy          Driggers, Timothy Allen        Harris, Sylvester Angelo
Baumgardner, Christopher       Driskel, James                 Harrison, Jason Raymond
Beery, Kenneth Lee             Drummond, Glenford             Hatchitt, Curt Alan
Bickford, Steve Alan           Dupriest, David C.             Heaton, Daniel M.
Blanco, Cesar                  Dutton, John Eric              Hendricks, Kevin Jeffrey
Bolt, Anthony                  Edmerson, Jeffral              Henriquez, Erison F.
Bonner, Anthony                Edwards, Lawrence              Hernandez, Jose Daniel
Brown, David S.                Ellington, Joseph              Holliday, Glenn Franklin
Brown, Devin                   Ellison, Marty Ferrell         Hollis, Timmy Lucas
Brown, Jr., Scottie            Ertle, Christopher A.          Houston, Bernard Jerome
Brown, Rodney Garfield         Eslinger, Timothy Michael      Howard, Danny Edward
Burns, Charlie                 Farr, Jr., James Harold        Howard, James Jason
Burpeau, Michael F.            Felipe, Oscar Sr.              Hunt, Bruce Robert
Burt, Mark Edward              Felix, James Robert            Hunt, III, Jerry Wayne
Cardenas-Henao, Jorge          Ferguson, Samuel               Hyde, Jason Scott
Carey, Christopher             Fields, Richard                Jackson, Damien Marcus
Cash, Curtis Alan              Figgins, Morris Dwayne         Jackson, Jr., Jimmy Wayne
Castro, Raphael                Filipiak, Luke Anthony         Jackson, Trance
Cavasina, Michael              Fitzpatrick, Michael           Jernigan, Brian Oneal
Cernobyl, Lamar (Mike)         Fluellen, Benjamin             Johnson, John Robert
Chavez, Roberto Ernesto        Foster, III, James Allen       Johnson, Loren L.
Choy, Santiago                 Fowler, Johnny                 Jurczak, Dan
Case 8:16-cv-03145-MSS-J_S    Document 199       Filed 09/26/19   Page 8 of 20 PageID
                                    4229




Kaiser, Alan J.              Nealy, Darrin L.                Sanders, Christian
Kaple, Neal                  Nelson, Joseph                  Schweitzer, Eric M.
Katinas, Craig               New, Anthony                    Seabolt, Anthony
Kay, Shawn                   Niccum, Jeremy Jack             Seabolt, Ryan
Kelley, Jeffrey Robert       Nicholas, Ryan Paul             Searles, Jr., Roosevelt
Kinslow, Jr., Edward L.      Nicolini, James M.              Shiller, Jeffrey W.
Kolubah, Zeleh               Owen, Cory Glynn                Shrouder, James
Kornegay, Randall Lamar      Owens, II, Edward               Shultis, Randolph Reed
Kosman, Keith Francis        Owens, James Melvin             Siegel, Joshua
Kowatch, Khristopher A.      Owens, Roger                    Sieracki, Neil
Lambeth, Jonathan            Padgett, Derrek                 Simeon, Windell
Laureano, Rafael             Pape, William Jeffrey           Simmons, Lamar Young
Leonard, Charles Junior      Paris, Gregory Scott            Simone, Peter
Lomash, Michael              Patrick, Kaleb                  Singer, David
Long, Michael William        Patterson, Kyle Eugene          Singh, Daniel
Lovell, Michael James        Peacock, Adam Richard           Slingluff, Rickey
Loving, Lawrence Jay         Pearson, Ramel                  Smith, Jr., Douglas
Lucas, Damiyan               Pepin, David                    Lorenzo
Lusher, III, James W.        Perry, Russell Allen            Smith, Justin Wayne
Mallard, Gerald Henry        Peters, David Paul              Smith, Larry J.
Maltes, Walter Eduardo       Pollock, Jr., Dennis Doyle      Smith, Richard C.
Martin, Brian Kevin          Ponder, Gregory Shun’tay        Sokols, Lewis D.
Martin, Keith Demond         Pratt, Cyrus L.                 Stack, Carrie Lee
Martins, Daniel              Pruett, Joshua B.               Stojancevic, Slaven
Martins, David               Qualls, Don Keith               Swagger, George N.
McConnell, Robert E.         Quick, Mark E.                  Swiney, Davion
McCormick, II, Max           Quick, Matthew                  Taksey, Paul David
McElhenney, Terrell A.       Ray, Jeffrey T.                 Taylor, Jr., Ray
McElrea, Jason Wayne         Ray, Joseph C.                  Terry, Thomas David
McGee, Ronald Joseph         Reid, Rosalula                  Thibodeaux, Jr., Harry Lee
McGrath, James J.            Rhoden, Brandon Cody            Thompson, Daryl
McLaughlin, Jordan Blane     Rich, Jeremy                    Thornton, Jr., Ronnie
McMullan, William            Richardson, Alvin T.            Tipton, Andrew Nathan
Middleton, Eric Andrew       Richardson, Daniel Craig        Tookes, Bruce
Milam, Ricky Carol           Rivera, Justin                  Tosado, Rafael J. Bonet
Mimna, Jr. Robert E.         Roberts, Jonathan W.            Trent, Jeffrey Lee
Mimna, Sr. Robert E.         Rodgers, Gilbert J.             Trimmer, Laine Paul
Minot, Scott                 Romero, Jr., David              Tyminski, Jr., Joseph John
Monzon, Michet               Rooks, Jeffrey Alan             Valle, Jose R.
Moody, Michael A.            Rudd, Michael G.                Veasley, Reco
Moon, Prometheus             Ryan, III, Peter                Veguilla, Samuel
Moore, Randen S.             Saikley, Jon                    Waddell, Calvin Lenear
Morgan, Sidney               Salyer, Jr., Webster            Walker, Edward Mitchell
Morrell, Phillip             Sancho, Freddie                 Weaver, Charlie Vershon



                                         -8-
Case 8:16-cv-03145-MSS-J_S                 Document 199            Filed 09/26/19         Page 9 of 20 PageID
                                                 4230




Weaver, Tony                             Wigle, John                               Wolfrom, Louanne
Weisenbach, David L.                     Wilkerson, Freddie                        Wolfrom, Richard E.
Westerfield, David                       Williams, Dudley Coleman                  Wordlaw, Rudolph
White, Jeffrey Allen                     Williams, Eric A.                         Wright, James Paul
White, Jr., Charles R.                   Williams, Jamie Toure
Whitlock, Cartier James                  Witcher, Nathan W.


Defendants have also served follow-up deficiency emails and letters to no avail. Defendants

appreciate that the time and resources necessary to respond to written discovery on behalf of

Plaintiffs is not insubstantial. However, three full months have now passed since the initial

response deadline, and only approximately 21 sets of discovery responses have been received (with

many of those responses being incomplete, or produced the day before or morning of the deposition

with little to no time to review them beforehand). (Sanford Dec., ¶14).2 Defendants relayed their

specific concerns regarding the missing discovery responses in a letter to Counsel for the Opt-In

Plaintiffs on August 9, 2019. (Sanford Dec., ¶15). To date, Plaintiffs have not responded to

Defendants’ August 9, 2019 letter. (Sanford Dec., ¶16). With discovery currently set to close on

November 1, 2019, the Opt-In Plaintiffs cannot continue to proceed as if there is no deadline by

which their written responses and documents production are due. For these reasons, Defendants

respectfully request that the Court order Plaintiff to produce all outstanding written discovery

responses and all responsive documents in their possession by October 15, 2019.




2
  Opt-In Plaintiffs have waived any objections to the requests. See M.D. Fla. Civil Discovery Handbook ¶¶ III.A.6
(“Absent compelling circumstances, failure to assert an objection to a request for production within the time allowed
for responding constitutes a waiver and will preclude a party from asserting the objection in response to a motion to
compel.”), IV.B.1 (“Absent compelling circumstances, failure to assert objections to an interrogatory within the time
for answers constitutes a waiver and will preclude a party from asserting the objection in a response to a motion to
compel.”); see also Third Party Verification, Inc. v. SiqnatureLink, Inc., No. 6:06-CV-415, 2007 WL 1288361, at *2
(M.D. Fla. May 2, 2007) (“A party who fails to file timely objections waives all objections, including those based on
privilege or work product.”).




                                                        -9-
Case 8:16-cv-03145-MSS-J_S                  Document 199             Filed 09/26/19         Page 10 of 20 PageID
                                                   4231




            B.       Last Minute Deposition Cancellations and No-Shows

            As of the date of this filing, Defendants have noticed, after first confirming the times and

 dates with opposing counsel, approximately 25 depositions. (Sanford Dec., ¶17).3 A significant

 number of distributors, however, have either cancelled their depositions last minute or, in several

 cases, simply not showed up at all. (Sanford Dec., ¶18). Indeed, although the date and time of

 every single one of these 25 depositions was communicated with counsel for Plaintiffs prior to the

 notices being sent out, only 16 of the depositions actually went forward. (Sanford Dec., ¶19). As

 the following chart illustrates, seven of the noticed depositions – more than a quarter – were

 cancelled less than 48 hours prior to deposition, with three cancelled the day of the deposition

 when the distributor simply failed to appear without any prior notice.

           Opt-In        Deposition Notice Sent         Deposition Date            Deposition Cancellation Notes
                          (after confirmation
                            with counsel for
                               Plaintiffs)

     Cory Glynn Owen     7/12/2019                   7/23/2019                  Informed by counsel for Plaintiffs
                                                                                less than 24 hours before scheduled
                                                                                deposition that Mr. Owen intended to
                                                                                withdraw from the case.

     Keith Demond        8/1/2019                    8/7/2019                   Informed by counsel for Plaintiffs
     Martin                                                                     less than 48 hours before scheduled
                                                                                deposition that Mr. Martin was “not
                                                                                responsive” and they do not
                                                                                anticipate him appearing for his
                                                                                deposition.

     Curtis Baxter       7/12/2019                   7/23/2019                  Informed by counsel for Plaintiffs
     Barge                                                                      less than 24 hours before scheduled
                                                                                deposition that Mr. Barge was “non-


 3
  Notably, Defendants noticed several additional depositions for Opt-In Plaintiffs prior to receiving confirmation from
 opposing counsel that the Opt-In Plaintiffs were available on that date at the request of Plaintiffs’ Counsel. In short,
 Plaintiffs’ Counsels stated that they needed actual deposition notices to send to several Opt-In Plaintiffs before those
 Opt-In Plaintiffs would communicate with Plaintiffs’ Counsel regarding potential deposition dates. Of course, a
 majority of those noticed depositions were postponed or rescheduled from the date indicated on the original deposition
 notice.


                                                          -10-
Case 8:16-cv-03145-MSS-J_S            Document 199         Filed 09/26/19        Page 11 of 20 PageID
                                             4232




                                                                      responsive.” Mr. Barge did not show
                                                                      up for his deposition.

  Jon Saikley         7/12/2019               7/31/2019               Informed by counsel for Plaintiffs
                                                                      less than 24 hours before scheduled
                                                                      deposition that deposition would not
                                                                      go forward and would have to be
                                                                      postponed for at least two weeks.

  Jose Valle          7/12/2019               7/31/2019               Informed by counsel for Plaintiffs
                                                                      less than 24 hours before scheduled
                                                                      deposition that deposition would not
                                                                      go forward and needed to be
                                                                      rescheduled.

  Freddie Sancho      7/12/2019               7/24/2019               Mr. Sancho failed to appear for his
                                                                      deposition without any prior notice to
                                                                      counsel for Defendants.

  Jeffrey White       8/29/2019               9/18/2019               On September 16, 2019, opposing
                                                                      counsel’s office notified us by email
                                                                      that they were “unable to re-confirm
                                                                      Jeffrey White for his deposition
                                                                      scheduled for 9/18/19”. Mr. White
                                                                      failed to appear for his deposition.



 To be sure, Defendants recognize that, from time to time, unforeseen emergencies require

 depositions to be cancelled last minute. However, given the sheer volume of depositions that

 needed to be taken in this case at various locations throughout the states of Georgia and Florida,

 and the fact that due to their distributorship responsibilities, current distributors are typically only

 available to be deposed on Wednesdays, Defendants’ counsel typically has to make travel

 arrangements for several attorneys to handle the multiple distributor depositions scheduled for any

 particular day. Last minute cancellations and no-shows impose an unnecessary cost burden on

 Defendants that they should not be required to bear, to say nothing of the time actually spent by

 attorneys preparing for depositions for distributors who do not actually appear for their depositions

 when originally scheduled. Just as critically, last minute cancellations and no shows require the



                                                  -11-
Case 8:16-cv-03145-MSS-J_S           Document 199        Filed 09/26/19      Page 12 of 20 PageID
                                            4233




 parties to go back to the drawing board to find mutually-agreeable dates, making it difficult to

 complete discovery within the discovery period.        For these reasons, with the exception of

 unforeseen emergencies, the cost of these cancellations and no-shows should be borne by

 Plaintiffs.

         C.     Opt-In Plaintiffs are not providing responsive documents in their possession
                in enough time to give Defendants time to review those documents prior to
                depositions.

         As noted above, in an effort to facilitate early depositions the Defendants proposed that

 documents produced prior to such early depositions would need to include the distributor’s tax

 returns (including all schedules) for 2013-2018, all documents related to any third-party sales, and

 completed interrogatory responses. (Sanford Dec., ¶21). Defendants further proposed that, at a

 minimum, for each Opt-In Plaintiff to be deposed, Defendant would produce the respective

 subsidiary’s’ distributor files at least seven days prior to a particular distributor’s deposition.

 (Sanford Dec., ¶22). Defendants have produced the distributor files as agreed. (Sanford Dec.,

 ¶23). Plaintiffs, however, are neither producing complete discovery responses or producing

 responsive docs in sufficient times prior to depositions to permit Defendants to adequately prepare

 for those depositions. (Sanford Dec., ¶23).      Plaintiffs also have not proposed any alternative

 production plan or schedule that Defendants can rely on in preparing for depositions in this matter.

 (Sanford Dec., ¶23).    The following chart illustrates a few examples of incomplete (or non-

 existent) discovery responses received well inside the seven day window prior to a scheduled

 distributor deposition, as well as two instances where no documents have been produced at all.




                                                -12-
Case 8:16-cv-03145-MSS-J_S             Document 199         Filed 09/26/19         Page 13 of 20 PageID
                                              4234




       Opt-In             Deposition Date      Documents Received                 Discovery Responses
                                                                                       Received

  John Wynn            7/24/2019            300 pages of documents           Written discovery responses
                                            received on 7/23/2019,           have never been received.
                                            approximately 24 hours
                                            before the deposition.

  Dean Shrouder        7/31/2019            No documents produced.           Interrogatory responses
                                                                             received on 7/30/2019, the day
                                                                             before deposition; no document
                                                                             production responses received.

  William Barter       8/14/2019            121 pages of documents           Written discovery responses
                                            received on 8/13/2019 at 1:32    received on 8/13/2019 at 1:32
                                            p.m., less than 24 hours prior   p.m., less than 24 hours prior to
                                            to scheduled deposition.         scheduled deposition.

  David Forster        7/25/2019            52 pages of documents            Interrogatory responses
                                            received on 7/23/2019.           received on 7/22/2019; no
                                                                             document production responses
                                                                             received.

  Richard Fuller       7/22/2019            No tax returns produced.         Interrogatory responses
                                                                             received on 7/16/2019; no
                                                                             document production responses
                                                                             received.

  Christopher Butler   7/31/2019            138 pages of documents           No interrogatory responses
                                            received on 7/29/2019.           received; document production
                                                                             responses received on
                                                                             7/29/2019

  Salahaldin           7/24/2019            353 pages of documents           Interrogatory responses
  Abdallah-AlJaber                          received on 7/24/2019, just a    received on 7/23/2019;
                                            couple of hours before the       document production responses
                                            deposition.                      received on 7/24/2019, just a
                                                                             couple of hours before the
                                                                             deposition.

  Ginelle Anestal      8/14/2019            145 pages of documents           Interrogatory responses
                                            received on 8/12/2019.           received on 8/13/2019; written
                                                                             document production responses
                                                                             never received.

  Ricky Woods          8/7/2019             512 pages of documents           Interrogatory responses and
                                            received on 8/6/2019 at 5:30     written document production
                                            p.m., less than 24 hours prior   responses received on 8/6/2019.
                                            to deposition




                                                 -13-
Case 8:16-cv-03145-MSS-J_S            Document 199         Filed 09/26/19      Page 14 of 20 PageID
                                             4235




       Opt-In            Deposition Date         Documents Received           Discovery Responses
                                                                                   Received

  Kyle Patterson     7/25/2019               No documents produced.       No interrogatory responses
                                                                          produced.



 In addition to the foregoing, it is apparent following the deposition of several distributors that the

 documents productions provided to Defendants prior to depositions are not complete.                   For

 example, one Opt-In Plaintiff testified in his deposition that he participated in a third-party sale of

 his distributorship that netted him a $200,000 profit. (Sanford Dec., ¶26). However, he did not

 produce any documents in the days leading up to his deposition relating to this transaction other

 than one document referencing that he sold it to another individual. (Sanford Dec., ¶26). Once

 the deposition started, he produced a stack of documents referencing and/or memorializing the

 terms of the sale, including specific sales documentation, financing arrangements and promissory

 notes since this distributor financed part of the sale for the buyer, and other detailed documents.

 There was no way Defense Counsel could adequately review and question the distributor as to the

 contents of those documents. (Sanford Dec., ¶26). When Defense counsel asked Plaintiffs’

 counsel if they could keep the deposition open to ask any follow-up questions regarding these late-

 produced documents, Plaintiffs’ counsel said “no” because they had not reportedly received the

 documents until the same time. This is no excuse. See M.D. Fla. Civil Discovery Handbook

 ¶ II.C.2 (“If requested documents that are discoverable are not timely produced prior to the

 deposition, the party noticing the deposition may either adjourn the deposition until after such

 documents are produced or, without waiving the right to have access to the documents and to

 subsequently examine the deponent regarding the documents, proceed with the deposition.”); see




                                                  -14-
Case 8:16-cv-03145-MSS-J_S            Document 199         Filed 09/26/19      Page 15 of 20 PageID
                                             4236




 also id. at ¶ III.A.4 (discussing the obligation of parties to execute a plan to produce documents in

 a “timely an reasonable manner”).

        Additionally, several of the document productions received from distributors prior to their

 depositions did not contain any tax returns, or contained incomplete tax records. (Sanford Dec.,

 ¶27). Several distributors in their depositions made reference to documents that they “produced

 to their attorneys” but which were never produced to Defendants. (Sanford Dec., ¶28). Finally,

 several deponents have testified that they never received litigation hold notices from their

 attorneys, suggesting that, at best, they are unsure of their obligations in discovery as it relates to

 the preservation of documents. (Sanford Dec., ¶ 29).

        Again, Defendants anticipate taking the depositions of more than 40 additional Opt-In

 Plaintiffs. Taking those depositions requires extensive coordination and planning, both internally

 and with opposing counsel. If an Opt-In Plaintiff does not produce all responsive documents in

 his/her possession in a reasonable amount of time prior to the deposition, Defendants have the

 Hobson’s choice of either cancelling the deposition and attempting to reschedule (a task that has

 proven near impossible as is), continuing the deposition but keeping it open to potentially resume

 at a later time pending a review of the late produced documents, or completing the deposition

 knowing that they do not have all the responsive documents in their possession or appropriate time

 to review them before the deposition. Regardless of the path Defendants choose, their ability to

 adequately explore all aspects of Plaintiffs’ claims is substantially and negatively impacted.

        D.      Opt-Ins Plaintiff deposition testimony suggests that Plaintiffs’ interrogatory
                responses are inaccurate and/or incomplete.

        In addition to the foregoing, deposition testimony obtained from multiple distributors is

 troubling as it relates to the interrogatory responses received from several of the Opt-In Plaintiffs.


                                                  -15-
Case 8:16-cv-03145-MSS-J_S          Document 199        Filed 09/26/19      Page 16 of 20 PageID
                                           4237




 For example, one Opt-In Plaintiff testified in his deposition that his counsel never asked him how

 many hours a week he worked. (Sanford Dec., ¶30). Nevertheless, in his responses to written

 interrogatory responses, he was credited for working 60 hours a week – including during an 11-

 month time period when he was a complete absentee distributor and not even running his territory

 (admitting he only spent about 4-5 hours a week during that time on distributor-related business),

 and also for a three-month period after he has actually sold his distributorship. (Sanford Dec.,

 ¶30). (He sold his distributorship in September 2018, yet his interrogatory responses credited him

 for overtime through Dec. 31, 2018). Another Opt-In Plaintiff testified in his deposition that,

 despite signing a verification under oath, his interrogatory responses were true and accurate, he

 had never seen the interrogatory responses before and had never reviewed them prior to them being

 served on Defendants. (Sanford Dec., ¶31).

        Defendants are only permitted three hours on the record when taking the deposition

 testimony of each Opt-In Plaintiff. There simply is not enough time to review every interrogatory

 response from each distributor during the deposition as that process could take up the bulk of

 Defendants’ time on the record with each distributor. Further, per the parties’ agreement,

 Defendants can only take 20% of the Opt-In Plaintiffs’ depositions. So, for the 80% who will not

 be deposed, Defendants must be able to rely on the accuracy of their interrogatory responses.

 Defendants believe several of the interrogatory responses may contain inaccurate information,

 responses that were never verified with the Opt-In Plaintiffs directly, or information that is

 inherently unreliable. Consequently, Defendants either need more time in each deposition on the

 record, have the ability to depose every single Opt-In Plaintiff to verify the accuracy of their




                                               -16-
Case 8:16-cv-03145-MSS-J_S            Document 199         Filed 09/26/19      Page 17 of 20 PageID
                                             4238




 discovery responses, or some other assurances that all Opt-In Plaintiffs are reviewing their

 interrogatory responses for completeness and accuracy prior to their service on Defendants.

 III.   Conclusion

        For all the foregoing reasons, Defendants respectfully request that the Court more closely

 supervise discovery in this case, including, in addition to any other items the Court deems

 appropriate: (1) ordering counsel for the Opt-In Plaintiffs to transmit to the Opt-In Plaintiffs the

 proposed Notice attached hereto as Exhibit A; (2) ordering the Opt-In Plaintiffs to produce all

 outstanding written discovery responses and responsive documents by September 30, 2019; (3)

 ordering that going forward, absent an unforeseen emergency, Plaintiffs will be responsible for the

 costs incurred by Defendants associated with the cancellation of any distributor deposition with

 less than two business days’ notice to Defendants; (4) ordering that going forward, Plaintiffs will

 be responsible for any additional costs incurred by Defendants associated with continuing an

 already commenced deposition at a later date if a distributor testifies in his/her deposition that

 he/she has not produced at least three business days prior to his or her deposition all responsive

 documents in his/her possession, or if it otherwise becomes apparent either during or after a

 distributor’s deposition that there are responsive documents that were not produced at least three

 business days prior to a distributor’s deposition; and (5) requiring the Parties to submit to the Court

 a written monthly report on the status of discovery and a statement as to whether a phone

 conference with the court is needed to discuss any outstanding and/or ongoing discovery issues.




                                                  -17-
Case 8:16-cv-03145-MSS-J_S        Document 199       Filed 09/26/19   Page 18 of 20 PageID
                                         4239




       Dated this 26th day of September, 2019.

                                           Respectfully submitted,

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                                            -18-
Case 8:16-cv-03145-MSS-J_S   Document 199   Filed 09/26/19    Page 19 of 20 PageID
                                    4240




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                                     Counsel for Defendants




                                     -19-
Case 8:16-cv-03145-MSS-J_S            Document 199        Filed 09/26/19     Page 20 of 20 PageID
                                             4241




                                CERTIFICATE OF CONFERRAL

        Defendants’ counsel conferred with Plaintiffs’ counsel regarding the relief sought in this

 motion and Plaintiffs’ counsel has not consented to the relief requested herein.

 Dated: September 25, 2019                              Respectfully submitted,


                                                        /s/ C. Garner Sanford, Jr.
                                                        C. Garner Sanford, Jr.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 26th day of September, 2019, I electronically filed the

 foregoing Motion for Court-Supervised Discovery with the Clerk of the Court by using the

 CM/ECF system, which will send a notice of electronic filing to Plaintiffs’ counsel, Andrew R.

 Frisch at afrisch@forthepeople.com, Chanelle J. Ventura at Cventura@forthepeople.com, and

 Adeash “AJ” Lakray at alakraj@forthepeople.com,           including all secondary electronic mail

 addresses on file with the Clerk.

        I FURTHER CERTIFY that to the best of my knowledge there are not any non-CM/ECF

 participants that require notification of this response via U.S. Mail.

                                                        /s/ C. Garner Sanford, Jr.
                                                        C. Garner Sanford, Jr.




                                                 -20-
